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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
SECURITIES AND EXCHANGE                    )
COMMISSION,                               )
                                           )
                        Plaintiff,        )
                                           )
                  v.                       ) No. 1:23-cv-01599-ABJ-ZMF
                                           )
BINANCE HOLDINGS LIMITED,                  )
BAM TRADING SERVICES INC.,                 )
BAM MANAGEMENT US HOLDINGS                 )
INC., AND CHANGPENG ZHAO,                 )
                                           )
                        Defendants.        )
__________________________________________)

                                    [PROPOSED] ORDER

       Having considered the parties’ Joint Status Report and Motion to Continue the Stay, and

for good cause shown, the Court orders that:

           1. The Joint Motion to Continue the Stay is GRANTED;

           2. The above-captioned case is stayed for a period of 60 additional days; and

           3. Upon expiration of the stay or resolution of the case, the parties will file a joint
              status report.

       IT IS SO ORDERED



Signed this ____ day of __________, 2025


                                                             _________________________
                                                             United States District Judge
